           Case 8:23-ap-01046-SC Doc 75 Filed 06/25/23 Entered 06/25/23 21:15:18                                                                   Desc
                               Imaged Certificate of Notice Page 1 of 18
                                                              United States Bankruptcy Court
                                                               Central District of California
Marshack,
      Plaintiff                                                                                                        Adv. Proc. No. 23-01046-SC
Diab,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jun 23, 2023                                               Form ID: pdf031                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 25, 2023:
Recip ID                 Recipient Name and Address
intp                   + Law Offices of Ronald Richards, Ronald Richards, Esq, PO Box 11480, Beverly Hills, CA 90213-4480

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
dft                            Authorize Net
dft                            B.A.T. Inc.
dft                            BAT Inc. dba Coast Processing
dft                            BankUnited, N.A.
dft                            Consumer Legal Group, PC
intp                           Courtesy NEF
dft                            Daniel S. March
cr                             Debt Validation Fund II, LLC
dft                            Dongliang Jiang
dft                            Dwolla, Inc.
dft                            EPPS
dft                            Eng Taing
dft                            Eng Tang
dft                            Equipay
dft                            Fidelity National Information Services, Inc.
dft                            Fidelity National Information Services, Inc. dba F
dft                            Gallant Law Group
dft                            Greyson Law Center PC
dft                            Guardian
dft                            Guardian Processing, LLC
dft                            Han Trinh
dft                            Heng Taing
dft                            Jake Akers
dft                            Jayde Trinh
dft                            Jimmy Chhor
dft                            LGS Holdco, LLC
dft                            Lisa Cohen
cr                             MC DVI Fund 1, LLC
cr                             MC DVI Fund 2, LLC
dft                            Maria Eeya Tan
dft                            Marich Bein, LLC
dft                            Maverick Management Group, LLC
dft                            Maverick Management, LLC
dft                            Max Chou
         Case 8:23-ap-01046-SC Doc 75 Filed 06/25/23 Entered 06/25/23 21:15:18                                                            Desc
                             Imaged Certificate of Notice Page 2 of 18
District/off: 0973-8                                               User: admin                                                           Page 2 of 3
Date Rcvd: Jun 23, 2023                                            Form ID: pdf031                                                      Total Noticed: 1
dft                              Merit Fund, LLC
dft                              Oakstone Law Group PC
dft                              Optimumbank Holdings, Inc.
dft                              Optimumbank Holdings, Inc. dba Optimum Bank
dft                              Payliance, LLC
dft                              Phoenix Law Group, Inc.
dft                              Phoenix Law, PC
dft                              Prime Logix, LLC
dft                              Revolv3, Inc.
pla                              Richard A. Marshack
dft                              Rosa Bianca Loli
dft                              Scott James Eadie
dft                              Seamless Chex Inc.
dft                              Stripe, Inc.
dft                              Teracel Blockchain Fund II LLC
dft                              The United States Postal Service
dft                              Tony Diab
dft                              Touzi Capital, LLC
dft                              Vulcan Consulting Group LLC
dft                              Wes Thomas
dft                              William Taylor Carss
dft                              World Global
dft                              Worldpay Group
dft                              Worldpay, Inc.
dft                              Worldpay, LLC

TOTAL: 59 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 25, 2023                                        Signature:          /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 23, 2023 at the address(es) listed below:
Name                             Email Address
Andrew Still
                                 on behalf of Interested Party Courtesy NEF astill@swlaw.com kcollins@swlaw.com

Christopher Celentino
                                 on behalf of Trustee Richard A Marshack (TR) christopher.celentino@dinsmore.com caron.burke@dinsmore.com

Christopher Celentino
                                 on behalf of Plaintiff Richard A. Marshack christopher.celentino@dinsmore.com caron.burke@dinsmore.com

Christopher Ghio
                                 on behalf of Plaintiff Richard A. Marshack christopher.ghio@dinsmore.com

Daniel A Lev
                                 on behalf of Interested Party Courtesy NEF daniel.lev@gmlaw.com cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com

Douglas A Plazak
                                 on behalf of Defendant Greyson Law Center PC dplazak@rhlaw.com
         Case 8:23-ap-01046-SC Doc 75 Filed 06/25/23 Entered 06/25/23 21:15:18                                                   Desc
                             Imaged Certificate of Notice Page 3 of 18
District/off: 0973-8                                          User: admin                                                        Page 3 of 3
Date Rcvd: Jun 23, 2023                                       Form ID: pdf031                                                   Total Noticed: 1
Johnny White
                             on behalf of Interested Party Courtesy NEF JWhite@wrslawyers.com jlee@wrslawyers.com;eweiman@wrslawyers.com

Kenneth Misken
                             on behalf of U.S. Trustee United States Trustee (SA) Kenneth.M.Misken@usdoj.gov

Queenie K Ng
                             on behalf of U.S. Trustee United States Trustee (SA) queenie.k.ng@usdoj.gov

Richard A Marshack (TR)
                             pkraus@marshackhays.com rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

Richard H Golubow
                             on behalf of Creditor MC DVI Fund 1 LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow
                             on behalf of Creditor Debt Validation Fund II LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Richard H Golubow
                             on behalf of Creditor MC DVI Fund 2 LLC rgolubow@wghlawyers.com,
                             jmartinez@wghlawyers.com;svillegas@wghlawyers.com

Ronald N Richards
                             on behalf of Defendant Consumer Legal Group PC ron@ronaldrichards.com, 7206828420@filings.docketbird.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 15
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 1 Christopher B. Ghio (State Bar No. 259094)
   Christopher Celentino (State Bar No. 131688)
 2 Jeremy B. Freedman (State Bar No. 308752)
   DINSMORE & SHOHL LLP                                             FILED & ENTERED
 3 655 West Broadway, Suite 800
   San Diego, CA 92101
 4 Telephone: 619.400.0500                                                JUN 23 2023
   Facsimile: 619.400.0501
 5 christopher.ghio@dinsmore.com                                     CLERK U.S. BANKRUPTCY COURT
   christopher.celentino@dinsmore.com                                Central District of California
                                                                     BY bolte      DEPUTY CLERK
 6 Jeremy.freedman@dinsmore.com

 7 Proposed Special Counsel to Richard A. Marshack,
   Chapter 11 Trustee for the Bankruptcy Estate of
 8 The Litigation Practice Group P.C.

 9

10                             UNITED STATES BANKRUPTCY COURT
11               CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
12
13 In re:                                             Case No. 8:23-bk-10571-SC

14 THE LITIGATION PRACTICE GROUP P.C.,                Adv. Proc. No. 8:23-ap-01046-SC
15          Debtor.                                   Chapter 11
16
   RICHARD A. MARSHACK,                               ORDER ON TRUSTEE, RICHARD
17 Chapter 11 Trustee,                                0$56+$&.¶6201,%86027,21
                                                      GRANTING :
18                         Plaintiff,                 1) TURNOVER OF ESTATE PROPERTY
                                                      AND RECORDED INFORMATION
19                    v.                              PURSUANT TO 11 U.S.C. § 542;
                                                      2) PRELIMINARY INJUNCTION;
20 TONY DIAB, an individual; DANIEL S.
   MARCH, an individual; ROSA BIANCA LOLI,            3) LOCK-OUT;
21 an individual; LISA COHEN, an individual;          4) RE-DIRECTION OF UNITED STATES
   WILLIAM TAYLOR CARSS, an individual;               PARCEL SERVICES MAIL;
22 ENG TAING, an individual; HENG TAING, an           5) ORDER TO SHOW CAUSE RE
   individual; MARIA EEYA TAN, an individual;         COMPLIANCE WITH COURT ORDER;
23 JAKE AKERS, an individual; HAN TRINH, an           AND
   individual; JAYDE TRINH, an individual; WES        6) OTHER RELIEF AS NECESSARY TO
24 THOMAS, an individual; SCOTT JAMES                 EFFICIENT ADMINISTRATION OF THIS
   EADIE, an individual; JIMMY CHHOR, an              MATTER
25 individual; DONGLIANG JIANG, an individual;
   MAX CHOU, an individual; OAKSTONE LAW              Date:    June 12, 2023
26 GROUP PC; GREYSON LAW CENTER PC;                   Time:    1:30 P.M.
   PHOENIX LAW, PC; MAVERICK                          Judge:   Hon. Scott C. Clarkson
27 MANAGEMENT GROUP, LLC; LGS                         Place:   Courtroom 5C
   HOLDCO, LLC; CONSUMER LEGAL GROUP,                          411 W. Fourth Street
28 P.C.; VULCAN CONSULTING GROUP LLC;                          Santa Ana, CA 92701
   BAT INC. d/b/a COAST PROCESSING; PRIME
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 1 LOGIX, LLC; TERACEL BLOCKCHAIN
   FUND II LLC; EPPS; EQUIPAY;
 2 AUTHORIZE.NET; WORLD GLOBAL;
   OPTIMUMBANK HOLDINGS, INC. d/b/a
 3 OPTIMUM BANK; MARICH BEIN, LLC;
   BANKUNITED, N.A.; REVOLV3, INC.;
 4 FIDELITY NATIONAL INFORMATION
   SERVICES, INC. d/b/a FIS; WORLDPAY, LLC;
 5 WORLDPAY GROUP; MERIT FUND, LLC;
   GUARDIAN PROCESSING, LLC;
 6 PAYLIANCE, LLC; TOUZI CAPITAL, LLC;
   SEAMLESS CHEX INC; DWOLLA, INC.;
 7 STRIPE, INC.; and DOES 1 through 100,
   inclusive,
 8

 9                   Defendants.
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 1          In his capacity as the duly appointed and acting Chapter 11 Trustee, Richard Marshack

 2   ³7UXVWHH´  ILOHG DQ 2PQLEXV (PHUJHQF\ 0RWLRQ IRU 7XUQRYHU RI (VWDWH 3URSHUW\ DQG 5HFRUGHG

 3 Information Pursuant to 11 U.S.C. § 542; Preliminary Injunction; Lock-Out; Re-Direction of United

 4 6WDWHV3RVWDO6HUYLFH0DLO6HWWLQJDQ2UGHU7R6KRZ&DXVHUH&RPSOLDQFHZLWKWKH&RXUW¶V2UGHU

 5 as to Tony Diab, Rosa Loli aka Rosa Bianca Loli aka Bianca Loli ("Rosa Loli"), Lisa Cohen, Daniel

 6 0DUFKDQG:LOOLDP7D\ORU³7\´&DUVVDQG2Wher As Necessary to the Efficient Administration of

 7 this Matter under seal on May 25, 2023, which matter was heard on May 25, 2023, pursuant to Local

 8 Bankruptcy Rule 9075-1. The Court, having considered the pleadings on file and the discussion of

 9 the parties at the hearing, and having placed its findings of fact and conclusions of law in support of

10 this order orally on the record at the hearing, and finding that exigent circumstances exist and good
11 cause appearing therefor, hereby ORDERS AS FOLLOWS:
12       TURNOVER ORDER OF ESTATE PROPERTY AND RECORDED INFORMATION:
13          A. RECORDED INFORMATION

14          Within twenty-four (24) hours from the date of this Order or notice thereof, whichever is

15 later, the following information regarding any and all persons who signed a Legal Services Contract

16 with LPG or whose file was purchased or otherwise transferred to LPG; Oakstone Law Group, PC
17   ³2DNVWRQH´ *UH\VRQ/DZ3& ³*UH\VRQ´ *DOODQW/DZ*URXS3& ³*DOODQW´ DQGLWVDIILOLDWH

18 &HQWHU 3RLQWH 3KRHQL[ /DZ 3& 3KRHQL[´  /*6 +Rldco., LLC; Consumer Legal Group, PC
19   ³&/*´ 0DYHULFN0DQDJHPHQW//& ³0DYHULFN´ 9XOFDQ&RQVXOWLQJ*URXS//& ³9XOFDQ´ 

20 %$7 ,QF GED &RDVW 3URFHVVLQJ ³&RDVW 3URFHVVLQJ´  6WUDWHJLF &RQVXOWLQJ 6ROXWLRQV //&
21   ³6&6´ 3ULPH/RJL[//& ³3ULPH/RJL[´ 7RX]L&DSLWDO//& ³7RX]L´ 7RQ\'LDE5RVD/ROL

22 DND5RVD%LDQFD/ROLDND%LDQFD/ROL ³5RVD/ROL´ /LVD&RKHQ(QJ7DLQJ+HQJ7DLQJ0DULD

23 Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie, Jimmy Chhor; Dongliang
24 Jiang; Max Chou; anGRUDQ\RWKHUDOLDV¶DJHQWVRUFRUSRUDWHHQWLWLHVDIILOLDWHGZLWKVDPHIRUZKLFK
25 WKHFOLHQW¶VILOHUHPDLQVRSHQDQGRUFRQWLQXHVWRPDNHSD\PHQWVXQGHUDQDJUHHGXSRQLQVWDOOPHQW
26 contract, except those clients who signed a Legal Services Contract post-petition (hereinafter
27 ³&OLHQW´ VKDOOEHWXUQHGRYHUWRWKH7UXVWHHE\'HEWRU

28 ///


                                                       1
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 1          1. All Client files, including but not limited to names, contact information, client file

 2 management, communications, account information, letters, pleadings, communications, payment

 3 history, financial account information, credit reports, executed legal services contracts, automated

 4 FOHDULQJKRXVH ³$&+´ FRQWUDFWVH[HFXWHGLQVWDOOPHQWFRQWUDFWVDFFRXQWEDODQFHVGHEWVLQGLVSXWH

 5 payment history, file status, settlements, debt invalidations and/or any other information created,

 6 PDQDJHGDQGVWRUHGHOHFWURQLFDOO\XWLOL]LQJ'HEW3D\3URD)RUWK,QF ³'33´ VRIWZDUHSURJUDP¶V

 7 software license, key or account, that was opened and is maintained and controlled by LPG;

 8 Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC; CLG; Maverick; Vulcan; Coast

 9 Processing; SCS; Prime Logix; Touzi; Tony Diab; Rosa Loli; Lisa Cohen; Eng Taing; Heng Taing;

10 Maria Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie, Jimmy Chhor;
11 DRQJOLDQJ-LDQJ0D[&KRXDQGRUDQ\RWKHUDOLDV¶DJHQWVRUFRUSRUDWHHQWLWLHVDIILOLDWHGZLWKVDPH
12   WKH³'33'DWD´ 
13          2. All administrative usernames and passwords that give the Trustee access to any DPP
14 account held, maintained or controlled by LPG; Oakstone; Greyson; Gallant; Phoenix; LGS Holdco.,
15 LLC; CLG; Maverick; Vulcan; SCS; Coast Processing; Prime Logix; Touzi; Tony Diab; Rosa Loli;

16 Lisa Cohen; Eng Taing; Heng Taing; Maria Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott
17 James; Eadie, Jimmy &KKRU'RQJOLDQJ-LDQJ0D[&KRXDQGRUDQ\RWKHUDOLDV¶DJHQWVRUFRUSRUDWH
18 entities affiliated with same;
19          3. All Client files, including but not limited to names, contact information, client file
20 management, communications, account information, letters, pleadings, communications, payment
21 history, financial account information, credit reports, executed legal services contracts, ACH
22 contracts, executed installment contracts, account balances, debts in dispute, payment history, file

23 status, settlements, debt invalidations and/or any other information created, managed and stored
24 HOHFWURQLFDOO\ XWLOL]LQJ SURSULHWDU\ VRIWZDUH SURJUDP ³/81$´ KRVWHG RQ $PD]RQ :HE 6HUYLFHV
25   ³$:6´ DQGORFDWHGDWWKHFXUUHQWGRPDLQ³OXQDSSFRP´WKDWLVPDLQWDLQHGDQGFRQWUROOHGby LPG;
26 Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC; CLG; Maverick; Vulcan; SCS; Coast
27 Processing; Prime Logix; Touzi; Tony Diab; Rosa Loli; Lisa Cohen; Eng Taing; Heng Taing; Maria

28 Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie, Jimmy Chhor; Dongliang

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 1 -LDQJ0D[&KRXDQGRUDQ\RWKHUDOLDV¶DJHQWVRUFRUSRUDWHHQWLWLHVDIILOLDWHGZLWKVDPH WKH³/XQD

 2 'DWD´ 

 3           4. All administrative usernames and passwords that give the Trustee access to any AWS

 4 account where Luna, its software program, databases and client information is held, stored and hosted

 5 that is maintained or controlled by LPG; Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC;

 6 CLG; Maverick; SCS; Vulcan; Coast Processing; Prime Logix; Touzi; Tony Diab; Rosa Loli; Lisa

 7 Cohen; Eng Taing; Heng Taing; Maria Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott

 8 -DPHV(DGLH-LPP\&KKRU'RQJOLDQJ-LDQJ0D[&KRXDQGRUDQ\RWKHUDOLDV¶DJHQWVRUFRUSRUDWH

 9 entities affiliated with same;

10           5. All ACH files related to Client information, details, accounts, history of electronic fund

11 WUDQVIHUV ³()7´ SD\PHQWVDPRXQWVKHOGLQWHUHVWRQKHOGDPRXQWVSHQDOW\IHHVQRQVXIILFLHQWIXQG
12 fees or other ACH related charges to the Clients stored electronically or in hard copy associated with
13 ACH processing service providers and/or affiliated financial institutions, including but not limited to
14 (336(TXL3D\//& ³(TXL3D\´ 0HULW)XQG//& ³0HULW)XQG´ $XWKRUL]HQHWDVXEVLGLDU\RI
15 9LVD ,QF ³$XWKRUL]HQHW´  :RUOG *OREDO 2SWLPXP%DQN +ROGLQJV ,QF GED 2SWLPXP %DQN

16   ³2SWLPXP %DQN´  %DQN8QLWHG ,QF ³%DQN8QLWHG´  0DULFK %HLQ //& ³0DULFK %HLQ´ 
17 5HYROY,QF ³5HYROY´ )LGHOLW\1DWLRQDO,QIRUPDWLRQ6HUYLFHV,QFGED),6LQFOXGLQJEXWQRt
18 limited to its subsidiaries Worldpay, LLC , Worldpay Group or any other subsidiaries providing ACH
19 SURFHVVLQJVHUYLFHV ³),6´ *XDUGLDQ3URFHVVLQJ//& ³*XDUGLDQ´ 3D\OLDQFH//& ³3D\OLDQFH´ 
20 6HDPOHVV&KH[,QF ³6HDPOHVV´ 'ZROOD,QF ³'ZROOD´ 6WULSH,QF ³6WULSH´ DQGRUDQ\HQWLW\
21 DVVRFLDWHGZLWKWKH$&+LGHQWLILFDWLRQWUDQVDFWLRQ³/3*-226-6262 #5 2363 RT 9 TOMS RIVER
22 1-´RUDQ\VXFKVXEVWDQWLDOO\VLPLODU$&+LGHQWLILFDWLRQWUDQVDFWLRQ KHUHLQDIWHUWKH³$&+

23 'DWD´ 
24           6. All files, information, reports, spreadsheets, account numbers, routing numbers, and
25 databases related to transfer of funds out of any account opened, maintained and controlled by LPG;
26 Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC; CLG; Maverick; SCS; Vulcan; Coast
27 Processing; Prime Logix; Touzi; Tony Diab; Rosa Loli; Lisa Cohen; Eng Taing; Heng Taing; Maria

28 Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie, Jimmy Chhor; Dongliang

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 1 -LDQJ0D[&KRXDQGRUDQ\RWKHUDOLDV¶DJHQWVRUFRUSRUDWHHQtities affiliated with same that were

 2 processed and executed by ACH processing service providers and/or their affiliated financial

 3 institutions, including but not limited to EPPS; EquiPay; Merit Fund; Authorize.net; World Global;

 4 Optimum Bank; BankUnited; Marich Bein; Revolv3; FIS; Guardian; Payliance; Seamless; Dwolla;

 5 6WULSHDQGRUDQ\HQWLW\DVVRFLDWHGZLWKWKH$&+LGHQWLILFDWLRQWUDQVDFWLRQ³/3*-226-6262 #5

 6 5772065,9(51-´RUDQ\VXFKVXEVWDQWLDOO\VLPLODU$&+LGHQWLILFDWLRQWUDQVDFWLon

 7   KHUHLQDIWHUWKH³$&+7UDQVIHU'DWD´ 

 8          7. All administrative usernames and passwords that give the Trustee access to any ACH

 9 processing accounts, software, database or other program at ACH processing service providers

10 and/or affiliated financial institutions, including but not limited to EPPS; EquiPay; Merit Fund;
11 Authorize.net; World Global; Optimum Bank; BankUnited; Marich Bein; Revolv3; FIS; Guardian;
12 Payliance; Seamless; Dwolla; Stripe; and/or any entity associated with the ACH identification
13 transaFWLRQ³/3*-226-5772065,9(51-´RUDQ\VXFKVXEVWDQWLDOO\
14 similar ACH identification transaction used to upload or input Client information, initiate Client
15 ACH EFTs, transfer Client ACH funds to outside financial institutions or otherwise manage any

16 account opened, maintained and controlled by LPG; Oakstone; Greyson; Phoenix; LGS Holdco.,
17 LLC; CLG; SCS; Vulcan; Coast Processing; Prime Logix; Touzi; Tony Diab; Rosa Loli; Lisa Cohen;
18 Eng Taing; Heng Taing; Maria Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie,
19 -LPP\ &KKRU 'RQJOLDQJ -LDQJ 0D[ &KRX DQGRU DQ\ RWKHU DOLDV¶ DJHQWV RU FRUSRUDWH HQWLWLHV
20 affiliated with same;
21          8. All accounting records, files, data and information for LPG; Oakstone; Greyson; Gallant;
22 Phoenix; LGS Holdco., LLC; CLG; SCS; Vulcan; Coast Processing; and Prime Logix stored on

23 NetSuite, Quickbooks and Microsoft SharePoint, G-Suite or other permanent or cloud based systems
24   KHUHLQDIWHUWKH³$FFRXQWLQJ'DWD´ 
25          9. All contracts, records, reports, information, data and details regarding the transfer or sale
26 of any Client files or future Client ACH payments to any other law firm, organization, corporate
27 entity, person(s), or investment group (otherwise known as factoring companies) by LPG; Oakstone;

28 *UH\VRQ3KRHQL[/*6+ROGFR//&DQGRU&/* KHUHLQDIWHUWKH³&OLHQW7UDQVIHU-2XW'DWD´ 

                                                        4
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 1          10. All contracts, records, reports, information, data, cost basis, payment information and

 2 details regarding the transfer or receipt of any Client files or future Client ACH payments from any

 3 other law firm, organization, corporate entity, person(s), investment or marketing group (otherwise

 4 known as capping companies) to LPG; Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC;

 5 0DYHULFNDQGRU&/* KHUHLQDIWHUWKH³&OLHQW7UDQVIHU-,Q'DWD´ 

 6          11. All information, data, tables, spreadsheets and reports regarding Client information stored

 7 RQ)RUPJULG,QFGED$LUWDEOH¶V ³$LUWDEOH´ FORXGEDVHGGDWDPDQDJHPHQWV\VWHPXVHGE\/3*

 8 Oakstone; Greyson; Phoenix; LGS Holdco., LLC; and/or CLG to manage the aforementioned

 9 LQIRUPDWLRQ KHUHLQDIWHUWKH³$LUWDEOH'DWD´ DQG

10          12. All administrative usernames and passwords that give the Trustee access to any Airtable
11 account opened, maintained or controlled by LPG; Oakstone; Greyson, Phoenix; LGS Holdco., LLC;
12 Maverick; and/or CLG; and
13          13. All email accounts related to LPG; Oakstone; Greyson; Gallant; Phoenix; LGS Holdco.,
14 LLC; and/or CLG stored maintained and/or hosted on Office 365, g-suite or any other email server,
15 ZKHWKHUSK\VLFDORUFORXGEDVHGVHUYHUV KHUHLQDIWHU³(PDLO'DWD´ 

16          14. Nothing herein is intended to require Greyson or its owner, Scott Eadie, or Greyson
17 employees Jayde Trinh or Han Trinh to turn over: (a) any files for Clients which Greyson did not
18 obtain from or through access to data or personnel, including affiliated attorneys, from LPG, Phoenix,
19 Oakstone, LGS Holdco, LLC, CLG, or Gallant; (b) any accounting records, files, data and
20 information for Clients which Greyson did not obtain from or through any access to data or personnel,
21 including affiliated attorneys, from LPG, Phoenix, Oakstone, LGS Holdco, LLC, CLG, or Gallant;
22 (c) contracts, records, reports, information, data and details regarding the transfer or sale of any Client

23 files or future Client ACH payments to any other law firm, organization, corporate entity, person(s),
24 or investment group for Clients which Greyson did not obtain from or through any access to data or
25 personnel, including affiliated attorneys, from LPG, Phoenix, Oakstone, LGS Holdco, LLC, CLG,
26 or Gallant. Further, nothing herein is intended to prevent Greyson from storing, maintaining, and/or
27 hosting email accounts and domains on Office 365, g-suite or any other email server, whether

28 physical or cloud based, that is unrelated to LPG, Phoenix, Oakstone, LGS Holdco, LLC, CLG, or

                                                         5
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 1 Gallant, and provided that such email accounts and domains were not funded through, acquired or

 2 developed by funds the genesis of which was the legacy files of LPG, including but not limited to

 3 any funds delivered after January 1, 2019, from, through or affiliated with Maverick, Vulcan. Coast

 4 Processing; SCS, Prime Logix, Oakstone, Gallant, Touzi, and/or any of the ACH payment processors

 5 or financial institutions named in this Order.

 6          B. ESTATE FUNDS

 7          Within five (5) calendar days from the date of this order or notice thereof, whichever is later,

 8 the following shall be turned over to the Trustee:

 9          1. All post-petition Client ACH payments processed on or after March 20, 2023, and received

10 by LPG; Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC; CLG; Maverick; SCS; Vulcan;
11 Coast Processing; Prime Logix; Touzi; Tony Diab; Rosa Loli; Lisa Cohen; Eng Taing; Heng Taing;
12 Maria Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie, Jimmy Chhor;
13 'RQJOLDQJ-LDQJ0D[&KRXDQGRUDQ\RWKHUDOLDV¶DJHQWVRUFRUSRUDWHHQWLWLHVDIILOLDWHGZLWKVDPH
14 related to LPG Clients who entered into a Legal Services Agreement pre-petition and who have
15 received the services provided in the contract;

16          2. The $6,308,702.72 million dollars in post-SHWLWLRQ$&+()7VSURFHVVHGWKURXJK/3*¶V
17 Revolv3, Inc. merchant account from March 2023 to the present, including any amounts that have
18 EHHQ WUDQVIHUUHG ZLUHG RU RWKHUZLVH ZLWKGUDZQ IURP /3*¶V 5HYROY ,QF PHUFKDQW DFFRXQW WR
19 Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC; CLG; Maverick; SCS; Vulcan; Coast
20 Processing; Prime Logix; Touzi; Tony Diab; Rosa Loli; Lisa Cohen; Eng Taing; Heng Taing; Maria
21 Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie, Jimmy Chhor; Dongliang
22 -LDQJ0D[&KRXDQGRUDQ\RWKHUDOLDV¶DJHQWVRUFRUSRUDWHHQWLWLHVDIILOLDWHGZLWKVDPH

23          3. Nothing herein is intended to require Greyson to turnover any post-petition Client ACH
24 payments related to the approximate 48 LPG clients who are contemplated to be serviced by Greyson
25 and for whom Greyson provides the Chapter 11 Trustee with signed retention agreement to the extent
26 such funds were processed or received after the date of the signed retention agreement with Greyson.
27 ///

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 1                                     PRELIMINARY INJUNCTION

 2          From the date of this ORDER and until further Ordered by this Court:

 3          1. Control Over ACH Transfers: All covered entities and individuals (defined below) are

 4 hereby enjoined and shall not interfere with any ACH electronic funds transfer being executed

 5 pursuant to documents authorizing such transfers to be executed in favor of LPG as follows:

 6                  a) Covered Entities and Individuals: The following entities and individuals, and

 7 anyone acting on their behalf: LPG; Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC; CLG;

 8 Maverick; Vulcan; Coast Processing; Prime Logix; SCS; Touzi; Tony Diab; Rosa Loli; Lisa Cohen;

 9 Eng Taing; Heng Taing; Maria Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie,

10 -LPP\ &KKRU 'RQJOLDQJ -LDQJ 0D[ &KRX DQGRU DQ\ RWKHU DOLDV¶ DJHQWV RU FRUSRUDWH HQWLWLHV
11 affiliated with same shall, absent further order from this Court, are Preliminary Enjoined as follows:
12                          i) Enjoined Conduct re ACH Instructions: No covered entity or individual

13 shall initiate, cause to be initiated, or instruct any company or person that processes ACH transfers
14 and/or their affiliated financial institutions, including EPPS; EquiPay; Merit Fund; Authorize.net;
15 World Global; Optimum Bank; BankUnited; Marich Bein; Revolv3; FIS; Guardian; Payliance;

16 6HDPOHVV'ZROOD6WULSHDQGRUDQ\HQWLW\DVVRFLDWHGZLWKWKH$&+LGHQWLILFDWLRQWUDQVDFWLRQ³/3*
17 949-226-   57  7206 5,9(5 1- ´ RU DQ\ VXFK VXEVWDQWLDOO\ VLPLODU $&+
18 identification transaction, to execute any ACH EFT on any file, financial institution, or current or
19 former client of LPG, to or for the benefit of LPG, including but not limited to Oakstone; Greyson;
20 Phoenix; CLG; Prime Logix; SCS; Maverick; and/or Vulcan, without the express authorization of
21 Trustee;
22                          ii) Enjoined Conduct re Bank Accounts: No covered entity or individual shall

23 open, or cause to be opened, any account, whether business or personal, that can receive or send
24 money or anything of value, at any company including banking, financial, or similar institutions
25 and/or receive, directly or indirectly, any funds drawn from ACH electronic fund transfers;
26          2. Enjoined Execution of ACH Transfer: All covered entities and individuals (defined
27 below) are hereby enjoined and prohibited from interfering with any ACH electronic funds transfer

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 1 being executed pursuant to documents authorizing such transfers to be executed in favor of LPG as

 2 follows:

 3                  a) Covered Entities and Individuals: All companies capable of processing ACH

 4 electronic funds transfers, including EPPS; EquiPay; Merit Fund; Authorize.net; World Global;

 5 Optimum Bank; BankUnited; Marich Bein; Revolv3; FIS; Guardian; Payliance, Seamless; Dwolla;

 6 Stripe; and/or any entity associated with the ACH iGHQWLILFDWLRQWUDQVDFWLRQ³/3*-226-6262 #5

 7 5772065,9(51-´RUDQ\VXFKVXEVWDQWLDOO\VLPLODU$&+LGHQWLILFDWLRQWUDQVDFWLRQ

 8 are enjoined absent further order of this court, from:

 9                          i) Enjoined Conduct re ACH Transfers: No covered entity or individual shall

10 transfer, wire, divert or otherwise permit the withdraw any funds received from any ACH electronic
11 funds transfer on any client file, financial institution, or current or former client of LPG, to or for the
12 benefit of LPG or any or more of its alleged assignees or transferees, including but not limited to
13 Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC; CLG and/or Maverick to any financial
14 account maintained, owned or controlled by Vulcan; Coast Processing; Prime Logix; SCS; Touzi;
15 Tony Diab; Rosa Loli; Lisa Cohen; Eng Taing; Heng Taing; Maria Eeya Tan; Jake Akers; Jayde

16 Trinh; Wes Thomas; Scott James; Eadie, Jimmy Chhor; Dongliang Jiang; Max Chou; and/or any
17 RWKHUDOLDV¶DJHQWVRUFRUSRUDWHHQWLWLHVDIILOLDWHGZLWKVDPH$OO$&+funds held by any covered
18 entity or individual shall be held in trust until such time as written authorization and instruction is
19 provided by Trustee;
20                          ii) Preliminary Injunction Mandating Turnover to Trustee: all covered entities

21 and individuals shall hold in trust any and all funds, receipts, and transfers related to any account,
22 file, or current or former client of LPG; Oakstone; Greyson; Phoenix; LGS Holdco., LLC; CLG;

23 Maverick; Vulcan; Coast Processing; Prime Logix; SCS; Touzi; Tony Diab; Rosa Loli; Lisa Cohen;
24 Eng Taing; Heng Taing; Maria Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie,
25 -LPP\&KKRU'RQJOLDQJ-LDQJ0D[&KRXDQGRURWKHUDOLDV¶DJHQWVRUFRUSRUDWHHQWLWLHVDIILOLDWHG
26 with same until expressly directed to release, wire or transfer such funds by the Trustee and to a bank
27 account whose information shall be provided with any such request; and, shall upon request by the

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 1 Trustee provide an accounting of any and all such funds held in trust to the Trustee upon written

 2 request within 10 days of said request;

 3          3. LPG; Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC; CLG; SCS; Vulcan; Coast

 4 Processing; Prime Logix; SCS; Touzi; Tony Diab; Rosa Loli; Lisa Cohen; Eng Taing; Heng Taing;

 5 Maria Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie, Jimmy Chhor;

 6 'RQJOLDQJ-LDQJ0D[&KRXDQGRUDQ\RWKHUDOLDV¶DJHQWVRUFRUSRUDWHHQWLWLHVDIILOLDWHGZLWKVDPH

 7 are hereby enjoined and shall not incur, take out or pledge any receivables of LPG; Oakstone;

 8 Greyson; Gallant; Phoenix; Prime Logix; SCS; Touzi; Maverick; and/or CLG without seeking leave

 9 of court;

10          4. Any and all funds held at Bank of America on behalf of Prime Logix and/or Vulcan,

11 including but not limited to account Nos. ending in xxx951 and xxx9021 and/or any other financial
12 accounts having received funds originating from LPG; Oakstone; Greyson; Gallant; Phoenix; LGS
13 HoldCo., LLC; CLG; and/or Maverick shall be held in trust and shall not be with withdrawn, wired,
14 drawn against, moved, or otherwise transferred without the express consent of the Trustee in writing
15 and to a financial account identified by the Trustee at the time the authorization is provided.

16          5. Nothing herein is intended to prevent Greyson or its owner, Scott Eadie, or Greyson
17 employees Jayde Trinh or Han Trinh from initiating, causing to be initiated, or instructing any
18 company or person that process ACH transfers to execute any ACH EFT on any file or financial
19 institution related to any Clients which Greyson did not obtain from or through access to data or
20 personnel, including affiliated attorneys, from LPG, Phoenix, Oakstone, LGS Holdco, LLC, CLG,
21 or Gallant, or related to the approximate 48 LPG clients who are contemplated to be serviced by
22 Greyson, or whom Greyson provides the Chapter 11 Trustee with signed retention agreement, and as

23 to which such processing occurs from and after the date of the signed retention agreement.
24                                           LOCKOUT ORDER
25          From the date of this ORDER until further order of this Court:
26          1. All persons identified below are enjoined and shall not access or attempt to gain access
27 whether physically, remotely, electronically, or virtually to the following locations associated with

28 LPG; Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC; CLG; Maverick; Vulcan; Coast

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 1 Processing; Prime Logix; SCS; Touzi; Tony Diab; Rosa Loli; Lisa Cohen; Eng Taing; Heng Taing;

 2 Maria Eeya Tan; Jake Akers; Jayde Trinh; Wes Thomas; Scott James; Eadie, Jimmy Chhor;

 3 'RQJOLDQJ-LDQJ0D[&KRXDQGRUDQ\RWKHUDOLDV¶DJHQWVRUFRUSRUDWHHQWLWLHV affiliated with same:

 4 a) 3347 Michelson Drive, Suites 400, 410 & 420, Irvine, California 92612; b) 17542 17th St Suite

 5  7XVWLQ &DOLIRUQLD  E  /XQD¶V GRPDLQ ORFDWHG RQ $:6 F  '33 'DWD RU DFFRXQWV G 

 6 Accounting Data and/or accounts on NetSuite, Quickbooks and Microsoft SharePoint, G-Suite or

 7 other permanent or cloud based systems; e) ACH processing accounts, whether individual, merchant

 8 or business, held at any ACH processing or affiliated financial institution, including but not limited

 9 to EPPS; EquiPay; Merit Fund; Authorize.net; World Global; Optimum Bank; BankUnited; Marich

10 Bein; Revolv3; FIS; Guardian; Payliance; Seamless; Dwolla; Stripe; and/or any entity associated
11 ZLWKWKH$&+LGHQWLILFDWLRQWUDQVDFWLRQ³/3*-226-6262 #5 2363 RT 9 TOMS 5,9(51-´
12 RU DQ\ VXFK VXEVWDQWLDOO\ VLPLODU $&+ LGHQWLILFDWLRQ WUDQVDFWLRQ I  9XOFDQ DQGRU 3ULPH/RJL[¶
13 financial accounts at Bank of America, including but not limited to Account Nos. ending in xxx951
14 and xxx9021; and g) the Email Data, as follows:
15                  i) Tony Diab;

16                  ii) Rosa Loli aka Rosa Bianca Loli aka Bianca Loli;
17                  iii) Lisa Cohen;
18                  iv) Daniel March;
19                  v) Eng Taing;
20                  vi) Maria Eeya Tan (except as may be authorized by the Trustee in the exercise of
21 his business judgment)
22                  vii) Jake Akers;

23                  viii) Han Trinh;
24                  ix) Jayde Trinh;
25                  x) Wes Thomas;
26                  [L :LOOLDP7D\ORU³7\´&DUVV H[FHSWDWPD\EHDXWKRUL]HGE\WKH7UXVWHHLQWKH
27 exercise of his business judgment);

28                  x) Scott James Eadie;

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 1                 xi) Jimmy Chhor;

 2                 xii) Brad Lee;

 3                 xiii) Dongliang Jiang;

 4                 xiv) Heng Taing; and

 5                 xiiv) Max Chou.

 6          Nothing herein is intended to prevent Greyson or its owner or employees from accessing or

 7 attempting to gain access whether physically, remotely, electronically, or virtually to 3347 Michelson

 8 Drive, Suites 400B, Irvine, California 92612 (but, for the sake of clarity, nothing herein confers any

 9 legal right to possession of access to such suite, which possession or access is governed by applicable

10 law) or from accessing or attempting to gain access whether physically, remotely, electronically, or
11 virtually to ACH processing accounts with Revolv3 so long as Greyson or its owner or employees do
12 not access or attempt to access any ACH processing account at Revolv3 or otherwise held by LPG;
13 Prime Logix; Guardian; Oakstone; Phoenix; and/or any other account previously used to processes
14 /3*FOLHQW$&+WUDQVIHUVWKDWLVQRWLQ*UH\VRQ¶VRZQQDPHDQGHVWDEOLVKHGE\RUWKURXJKIXQGVWKH
15 VRXUFHRIZKLFKLVXQUHODWHGWROHJDF\/3*FOLHQWVDQGHVWDEOLVKHGLQ*UH\VRQ¶VRZQQDPHDIWHUWKH

16 date of this Order.
17                                   ORDER TO RE-DIRECT MAIL
18          From the date of this ORDER until further order of this Court:

19          1. Trustee is hereby authorized to instruct the United States Postal Service to re-direct any

20 and all mail processed by the United States Postal Service Directed to: a) LPG, 17542 17th St Suite
21 100, Tustin, California 92780; b) Oakstone, 888 Prospect Street, Suite 200 La Jolla, California
22 92037; c) Phoenix, 3347 Michelson Drive, Suites 400, 410 & 420, Irvine, California 92612; d) Prime

23 Logix, 3347 Michelson Drive, Suites 400, 410 & 420, Irvine, California 92612; e) CLG, PO Box 412
24 Elmsford, NY 10523; f) Greyson, 3347 Michelson Drive, Suites 400, 410 & 420, Irvine, California
25 92612; and/or any other address associated with such entities, shall be forwarded and re-directed to
26 an address provided by the Trustee until such time as ordered by the Court. To the extent that the
27 Trustee receives any mail addressed to Greyson, the Trustee shall .pdf a copy of the correspondence

28 WR*UH\VRQ¶VFRXQVHO'RXJ3OD]DNRI5HLG +HOO\HUDWGSOD]DN#UKOaw.com, within 24 hours of

                                                      11
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 1 said receipt, unless receipt falls on a Friday or a day preceding any Federal or State holiday and/or

 2 HPHUJHQF\ UHTXLULQJ 7UXVWHH¶V RIILFH WR FORVH LQ ZKLFK FDVH DQ\ PDLO UHFHLYHG E\ 7UXVWHH DQG

 3 addressed to Greyson shall be forZDUGHGWR*UH\VRQ¶VFRXQVHOWKHQH[WEXVLQHVVGD\

 4

 5                                      NOTICE TO LPG CLIENTS

 6          Trustee is hereby authorized to provide notice to any and all LPG clients, including those

 7 transferred and/or assigned to Oakstone; Greyson; Gallant; Phoenix; LGS Holdco., LLC; CLG;

 8 DQGRU0DYHULFNUHJDUGLQJL /3*¶V%DQNUXSWF\ILOLQJLL SHQGLQJHYDOXDWLRQRIWKHLUILOHDQGLLL 

 9 status prior to assuming or rejecting their contract in substantially the same form of notice attached

10 to this Order as Exhibit 1.
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      Date: June 23, 2023
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1                                                      Exhibit 1

2
               [Client Name]
3                [Date]
4              [Address Line 1]
               [Address Line 2]
5              [Address Line 3]
               Tel:
6              Email:
7

8                RE: STATUS REGARDING YOUR MATTER WITH THE LITIGATION
           PRACTICE GROUP
9                Dear [Name],
                 3OHDVHEHDGYLVHGWKDWRQ0D\7KH/LWLJDWLRQ3UDFWLFH*URXS ³/3*´ 
10         filed for protection under Chapter 11 of the Bankruptcy Code. On May 8, 2023, the
           United States Bankruptcy Court²Central District of California, Case No. 8:23-bk-
11         10571, appointed Richard Marshack, Esq. as the duly appointed Chapter 11 Trustee to
           RYHUVHHWKHDGPLQLVWUDWLRQRI/3*¶V%DQNUXSWF\PDWWHU6HH'RFNHW1R
12               Subsequently, the United States Bankruptcy Court authorized Trustee to obtain
           information in order to review and evaluate the status of your file at LPG and/or any
13         other debt relief law firm your file may have been transferred or assigned to at or around
           the time LPG filed for Bankruptcy, including but not limited to Oakstone Law Group,
14         P.C.; Greyson Law Center, P.C.; Gallant Law Group, PC; Phoenix Law, P.C.; LGS
           Holdco., LLC; Consumer Legal Group, P.C. and/or Maverick Management Group,
15         LLC.
                 Over the coming weeks, Trustee Richard Marshack will provide status of your
16         file and continuation of legal services pursuant to the Legal Services Agreement with
           LPG.
17               We greatly appreciate your patience and cooperation while we work on your
           behalf.
18
                                                                         Sincerely,
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20                                                                       [Signatory name]

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